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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
U.S. BANK, NATIONAL ASSOCIATION,
solely in its capacity as Trustee,

                                 Plaintiff,                                12-cv-7322 (PKC)

                -against-
                                                               ORDER ON SETTLEMENT

UBS REAL ESTATE SECURITIES INC.,

                                  Defendant.
-----------------------------------------------------------x

CASTEL, U.S.D.J.

                 The parties have reached an agreement settling this action in its entirety, subject
to a certain trust instruction proceeding to be filed by the Trustee.

                 The dates adopted by this Court in the Order of May 2, 2018 (Doc. 588) are
stayed pending the hearing and determination of the trust instruction proceeding. The parties
shall report to this Court on the status of the proceeding in 90 days.

                SO ORDERED.




Dated: New York, New York
       July 16, 2018
